 Case 2:16-cv-00601-JDL Document 10 Filed 02/10/17 Page 1 of 4             PageID #: 26




                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

JAMES LEE WOOD,                          )
                                         )
             Plaintiff                   )
                                         )       2:16-cv-00601-JDL
v.                                       )
                                         )
YORK COUNTY DEPARTMENT                   )
OF CORRECTIONS, et al.,                  )
                                         )
             Defendants                  )

       RECOMMENDED DECISION AFTER SCREENING COMPLAINT
              PURSUANT TO 28 U.S.C. §§ 1915(e), 1915A

      In this action, Plaintiff James Lee Wood, an inmate in custody at the York County

Jail, alleges the cost of goods at the prison commissary violate the County’s policies.

(Complaint, ECF No. 1.) Plaintiff seeks injunctive relief and money damages. Plaintiff

filed an application to proceed in forma pauperis (ECF No. 4), which application the Court

granted (ECF No. 6).

      In accordance with the in forma pauperis statute, a preliminary review of Plaintiff’s

complaint is appropriate. 28 U.S.C. § 1915(e)(2). Additionally, Plaintiff’s complaint is

subject to screening “before docketing, if feasible or … as soon as practicable after

docketing,” because he is “a prisoner seek[ing] redress from a governmental entity or

officer or employee of a governmental entity.” 28 U.S.C. § 1915A(a).

      Following a review of Plaintiff’s complaint, I recommend the Court dismiss the

complaint.




                                             1
 Case 2:16-cv-00601-JDL Document 10 Filed 02/10/17 Page 2 of 4                PageID #: 27




                                  STANDARD OF REVIEW

       When a party is proceeding in forma pauperis, “the court shall dismiss the case at

any time if the court determines,” inter alia, that the action is “frivolous or malicious” or

“fails to state a claim on which relief may be granted.” 28 U.S.C. § 1915(e)(2)(B).

“Dismissals [under § 1915] are often made sua sponte prior to the issuance of process, so

as to spare prospective defendants the inconvenience and expense of answering such

complaints.” Neitzke v. Williams, 490 U.S. 319, 324 (1989).

       In addition to the review contemplated by § 1915, Plaintiff’s complaint is subject to

screening under the Prison Litigation Reform Act because Plaintiff currently is incarcerated

and seeks redress from governmental entities and officers. See 28 U.S.C. § 1915A(a), (c).

The § 1915A screening requires courts to “identify cognizable claims or dismiss the

complaint, or any portion of the complaint, if the complaint (1) is frivolous, malicious, or

fails to state a claim …; or (2) seeks monetary relief from a defendant who is immune from

such relief.” 28 U.S.C. § 1915A(b).

       When considering whether a complaint states a claim for which relief may be

granted, courts must assume the truth of all well-plead facts and give the plaintiff the

benefit of all reasonable inferences therefrom. Ocasio-Hernandez v. Fortuno-Burset, 640

F.3d 1, 12 (1st Cir. 2011). A complaint fails to state a claim upon which relief can be

granted if it does not plead “enough facts to state a claim to relief that is plausible on its

face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). “The relevant question

... in assessing plausibility is not whether the complaint makes any particular factual

allegations but, rather, whether ‘the complaint warrant[s] dismissal because it failed in toto

                                              2
 Case 2:16-cv-00601-JDL Document 10 Filed 02/10/17 Page 3 of 4                    PageID #: 28




to render plaintiffs’ entitlement to relief plausible.’” Rodríguez–Reyes v. Molina–

Rodríguez, 711 F.3d 49, 55 (1st Cir. 2013) (quoting Twombly, 550 U.S. at 569 n. 14).

Although a pro se plaintiff’s complaint is subject to “less stringent standards than formal

pleadings drafted by lawyers,” Haines v. Kerner, 404 U.S. 519, 520 (1972), the complaint

may not consist entirely of “conclusory allegations that merely parrot the relevant legal

standard,” Young v. Wells Fargo, N.A., 717 F.3d 224, 231 (1st Cir. 2013). See also Ferranti

v. Moran, 618 F.2d 888, 890 (1st Cir. 1980) (explaining that the liberal standard applied to

the pleadings of pro se plaintiffs “is not to say that pro se plaintiffs are not required to plead

basic facts sufficient to state a claim”).

                                    BACKGROUND FACTS

       Plaintiff alleges that Defendants have violated and evidently continue to violate

York County’s policy that requires the cost of items sold in the jail commissary, or canteen,

reflect the average retail price in the community. (Complaint at 3.) Plaintiff asserts the

cost of items in the commissary is consistently higher than in the community.

                                          DISCUSSION

       Defendants’ alleged violation of a jail policy is not an actionable federal claim.

Olim v. Wakinekona, 461 U.S. 238, 250 – 51 (1983) (“The State may choose to require

procedures for reasons other than protection against deprivation of substantive rights, of

course, but in making that choice the State does not create an independent substantive

right.”); Phillips v. Norris, 320 F.3d 844, 847 (8th Cir. 2003) (“[T]here is no federal

constitutional liberty interest in having state officers follow state law or prison officials

follow prison regulations.”). Plaintiff also does not have a constitutional right to purchase

                                                3
 Case 2:16-cv-00601-JDL Document 10 Filed 02/10/17 Page 4 of 4                 PageID #: 29




items in the jail commissary at a particular cost. French v. Butterworth, 614 F.2d 23, 25

(1st Cir. 1980) (“reject[ing] [the] contention that … inmates have a constitutionally

protected interest in buying food as cheaply as possible”). See also DeBrew v. Atwood,

792 F.3d 118, 129 (D.C. Cir. 2015); Stergios v. Sheriff Cumberland Cty., No. 2:10-CV-

00365-GZS, 2010 WL 3842154, at *1, 2010 U.S. Dist. Lexis 102848, at *1 (D. Me. Aug.

31, 2010). Plaintiff, therefore, has failed to assert an actionable federal claim.

                                        CONCLUSION

       Based on the foregoing analysis, pursuant to 28 U.S.C. § 1915(e)(2) and 28 U.S.C.

§ 1915A(a), I recommend the Court dismiss Plaintiff’s complaint.



                                          NOTICE

              A party may file objections to those specified portions of a magistrate
       judge's report or proposed findings or recommended decisions entered
       pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
       court is sought, together with a supporting memorandum, within fourteen
       (14) days of being served with a copy thereof. A responsive memorandum
       shall be filed within fourteen (14) days after the filing of the objection.

              Failure to file a timely objection shall constitute a waiver of the right
       to de novo review by the district court and to appeal the district court's order.

                                           /s/ John C. Nivison
                                           U.S. Magistrate Judge

Dated this 10th day of February, 2017.




                                              4
